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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
     Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
         Clerk                        CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                                   Filed: June 08, 2020




  Mr. John L. Medearis
  Eastern District of Tennessee
  220 W. Depot Street
  Greeneville, TN 37743-0000

                       Re: Case No. 20-5390, USA v. Xiaorong You
                           Originating Case No. : 2:19-cr-00014-1

  Dear Clerk,

     Enclosed is a copy of the mandate filed in this case.

                                                   Sincerely yours,

                                                   s/Maddison R Edelbrock
                                                   For Jennifer Earl

  cc: Ms. Debra A. Breneman
      Mr. Thomas Jessee
      Mr. Corey Bryant Shipley

  Enclosure




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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT

                                              ________________

                                                 No: 20-5390
                                              ________________

                                                                        Filed: June 08, 2020

  UNITED STATES OF AMERICA

                  Plaintiff - Appellant

  v.

  XIAORONG YOU, aka Shannon You

                  Defendant - Appellee



                                               MANDATE

       Pursuant to the court's disposition that was filed 05/15/2020 the mandate for this case hereby

  issues today.



   COSTS: None




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